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  NOT FOR PUBLICATION

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY




   SHELBY OWNBEY AND JOYCE
   OWNBEY,

                                                 Civil No.: 07-2190 (KSH)
                  Plaintiffs,                             (CLW)



         v.



   AKER KVAERNER
   PHARMACEUTICALS INC., JOHN
   DOE CORPORATIONS 1, 2, AND 3,
   JOHN DOES AND JANE DOES 1, 2, 3,
   4, AND 5, IMCLONE SYSTEMS, INC.,
                                                         OPINION
   MID-CONTINENT CASUALTY
   COMPANY, EPIC INTERIORS, LLC,
   ADVANTAGE BUILDINGS &
   EXTERIORS, INC., ZURICH
   AMERICAN INSURANCE CO.,

                       Defendants.




        Before the Court are motions for reconsideration (D.E. 591, 592, and 593)

  filed by third party defendants Mid-Continent Casualty Company (“MCC”) and

  Zurich American Insurance Company (“Zurich”), disputing this Court’s decision

  (D.E. 589) that their insureds, defendants ImClone Systems, Inc. (“ImClone”) and


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  Aker Kvaerner Pharmaceuticals (“Aker”), are entitled to additional-insured

  coverage under the MCC and Zurich policies. The Court has considered the parties’

  written submissions, and for the reasons stated below, the motions are denied.

                                    I.   Factual Background

        An accident severely injured plaintiff Shelby Ownbey while he was working

  on the site of a pharmaceutical manufacturing plant under construction. After his

  personal injury claims were settled, litigation focused on insurance contracts and

  indemnity agreements between and among the various defendants: the construction

  site owner, ImClone; the general contractor, Kvaerner Process, a division of

  Kvaerner U.S., Inc. (“Kvaerner Process”); two subcontractors, Advantage Building

  & Exteriors, Inc. (“Advantage”) and Epic Interiors, LLC (“Epic”), that performed

  work on the site; and MCC and Zurich, whose policies were issued in connection

  with the project. (Id. at 1-3.)

        These motions evolve from summary judgment motions that the Court

  decided in its September 2017 written opinion (D.E. 589) that revisited and changed

  its earlier ruling (D.E. 545) in favor of MCC. The initial paragraphs of the 2017

  opinion summarize the who, what, where, and when (and of course, these motions

  challenge the why).

               Before the Court are motions for summary judgment filed by Zurich
               American Insurance Company (“Zurich”) (D.E. 570), ImClone Systems,
               Inc. (“ImClone”) (D.E. 571), and Aker Kvaerner Pharmaceuticals, Inc.
               (“Aker”) (D.E. 572) regarding the parties’ respective rights and
               obligations under an insurance policy issued by Zurich. The Court and
               the parties are familiar with the facts and long procedural history of
               this case, which has been the subject of motion practice that has inched
               along seeking to establish the rights and exposure of various players in

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             a worksite accident that significantly injured plaintiff Shelby Ownbey.
             He was compensated some years ago; what has driven the litigation
             since are contractual indemnities offered to the property owner,
             ImClone, and construction manager, Aker, by two subcontractors
             employing Ownbey and others involved in the construction project that
             led to the accident, and the purported coverage that ImClone and Aker
             receive under these subcontractors’ general liability policies as
             additional insureds.

             In these motions, ImClone and Aker seek to recover defense costs as
             additional insureds under a policy issued by Zurich to subcontractor
             Epic. The Zurich policy and Aker’s rights under it present
             substantially the same issues the Court considered in Aker’s effort to
             recoup defense costs under a policy issued by Mid-Continent Casualty
             Co. (“MCC”) to a different subcontractor, Advantage Building &
             Exteriors, Inc. (“Advantage”). Specifically, Aker purchased rights and
             liabilities regarding the construction project from ImClone’s previous
             construction manager, Kvaerner Process, pursuant to an asset
             purchase agreement. Both MCC and Zurich argue that Kvaerner
             Process’s additional insured rights under their policies did not pass to
             Aker.

             In denying Aker’s partial summary judgment as to MCC (D.E. 545)
             (the “MCC opinion”), the Court offered its own interpretation of the
             MCC policy and held that coverage for Aker was precluded by anti-
             assignment language in MCC’s primary and umbrella policies. Arguing
             that its policy with Epic has the same anti-assignment language,
             Zurich seeks a declaration from the Court that the law of the case
             doctrine precludes Aker from arguing that it obtained any additional
             insured rights from Kvaerner Process under the asset purchase
             agreement. Aker opposes, arguing that the Zurich and MCC policies
             are distinct enough on the issue of assignment such that the Court’s
             prior ruling does not apply; alternatively, Aker argues that the MCC
             opinion was wrong, and that the Court should exercise its authority
             under Fed. R. Civ. P. 54(b) to amend its holding.

             For the reasons set forth below, the Court is satisfied that its previous
             ruling is in fact in error. Therefore, this opinion revisits the issue of
             coverage for Aker under the MCC policy, as is the Court’s authority
             (and obligation) under Rule 54(b). See Fed. R. Civ P. 54(b); United
             States v. Jerry, 487 F.2d 600, 605 (3d Cir. 1973) (“so long as the district
             court has jurisdiction over the case, it possesses inherent power over
             interlocutory orders, and can reconsider them when it is consonant
             with justice to do so”). The Court also finds that the Zurich policy

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               provides additional insured coverage for Ownbey’s accident to ImClone
               and Aker.

  (D.E. 589, 1-3.)

                                        II.       Standard

        New Jersey Local Civil Rule 7.1(i) permits a litigant to seek reconsideration

  of a prior decision. Such a motion is intended to “correct manifest errors of law or

  fact or to present newly discovered evidence.” Howard Hess Dental Labs. Inc. v.

  Dentsply Int’l, Inc., 602 F.3d 237, 251 (3d Cir. 2010) (quoting Max’s Seafood Café ex

  rel. Lou-Ann, Inc. v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999)). The standard is

  high; reconsideration is not an opportunity for a party to “re-litigate the case.” OR

  v. Hunter, 576 F. App’x 106, 110 (3d Cir. 2014).

        A party moving for reconsideration must establish one of the following

  grounds: “(1) an intervening change in the controlling law; (2) the availability of

  new evidence that was not available when the court [issued its order]; or (3) the

  need to correct a clear error of law or fact or to prevent manifest injustice.” Max’s

  Seafood, 176 F.3d at 677. A motion for reconsideration is not an alternative to the

  appellate process, and one that merely raises “a difference of opinion with the

  court’s decision” must be denied. Fellenz v. Lombard Inv. Corp., 400 F. Supp. 2d

  681, 683 (D.N.J. 2005) (Thompson, J.).

                                       III.   Discussion

               a. MCC’s Motion for Reconsideration (D.E. 591)

        MCC contends that the Court’s finding in its September 1, 2017 opinion that

  Aker only sought additional-insured coverage under MCC’s primary policy is clearly

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  erroneous and creates manifest injustice. (D.E. 591-2, MCC’s Motion for Recon., 8.)

  Because Aker also sought coverage under the umbrella policy, the Court erred,

  according to the argument, in failing to analyze that policy’s impact on whether

  Aker is an additional-insured. MCC also argues the decision is wrong because

  Ownbey’s accident did not arise out of Advantage’s performance of on-going

  operations for Aker. (Id. at 18.)

        But the Court explicitly rejected MCC’s position that Aker sought coverage

  under both the primary and the umbrella policy, finding that “because Aker was

  only seeking coverage under MCC’s primary policy, the Court erred in considering

  anti-assignment language in the MCC umbrella policy.” (D.E. 589, 2017 Opinion, 9

  (emphasis added).) The primary policy clearly and unambiguously barred

  assignment by a named-insured, but it allowed assignment by an additional-

  insured. (Id. at 10.) The Court found as well that “Advantage’s ‘ongoing operations’

  on the day of the accident were being performed for Aker as well as for ImClone,”

  because “Advantage owed ongoing obligations to Aker with respect to the project.”

  (Id. at 12.) Both issues MCC raises in its motion for reconsideration now were

  squarely analyzed and addressed by the Court. While MCC disagrees, it fails to

  point to any intervening change in law or new evidence to warrant reconsideration

  and a different result. Accordingly, the motion is denied.




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                b. Zurich’s Motion for Reconsideration (D.E. 592)

         Zurich argues that Aker should not be considered an additional-insured on its

  policy with Epic because the underlying accident did not arise out of Epic’s work

  under its contract with ImClone. (D.E. 592-2, Zurich’s Motion for Recon., 6.) The

  contract, Zurich urges, covered only interior carpentry and sheet-rocking, but the

  accident occurred when Ownbey fell from a scaffold on the exterior of the building.

  (Id. at 7.)

         ImClone’s opposition argues that the Court already addressed these issues

  and “Zurich has failed to set forth any new facts or argument to warrant

  reconsideration.” (D.E. 595, 4; emphasis in the original.) The Court agrees, with

  the observation that both movants are making the same arguments they have made

  before, arguments that have been sufficiently dealt with on the trial level. Any

  insurers’ remedies lie with an appellate court.1

                                       IV.    Conclusion

         MCC and Zurich have not established “the need to correct a clear error of law

  or fact or to prevent manifest injustice.” Estate of Jennings v. Delta Air Lines, Inc.,

  No. 15-962, 2017 WL 401945, at *2 (D.N.J. Jan. 30, 2017) (Simandle, J.). Their

  motions for reconsideration are denied, and an appropriate order will be entered.

  The parties are directed to confer with Magistrate Judge Cathy Waldor to schedule




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   Zurich’s application (D.E. 593) to join MCC’s motion was untimely filed;
  notwithstanding, it merits denial for the same reasons.
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  the prompt resolution of coverage issues consistent with the summary judgment

  rulings in D.E. 589.




                                              s/ Katharine S. Hayden___________
                                              Katharine S. Hayden, U.S.D.J.


  July 9, 2018




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